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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASENO.l          o·- 20 8 12CR=sc LAt~iiORRES
                                         18 u.s.c.   § 1349
                                         18 u.s.c.   § 1347
                                         18 u.s.c.   § 1956(h)
                                         18 U.S.C.   § 1956(a)(1)(B)(i)
                                         18 u.s.c.   §2
                                         18 u.s.c.   § 982


 UNITED STATES OF AMERICA

 v.

 JESUS GARCES,
      a/k!a "Narra,"
 ORLANDO CAMPA, and
 VINCENTE GONZALEZ,

                           Defendants.
 ---------------------------'                                                                             f
                                          INDICTMENT

        The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

        At all times material to this Indictment:

                             The Medicare and Medicaid Programs
                                                                                          !

        1.     The Medicare Program ("Medicare") was a federally funded program      th~t     provided
                                                                                          I

 free or below-cost health care benefits to certain individuals, primarily the elderly,       lind, and

 disabled. The benefits available under Medicare were governed by federal statutes and r gulations.

 The United States Department of Health and Human Services ("HHS"), through its a ency, the

 Centers for Medicare and Medicaid Services ("CMS"), oversaw and administered !Medicare.
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 Individuals who received benefits under Medicare were commonly referred to as Medicare

 "beneficiaries."

         2.     Medicare had four parts: hospital insurance (Part A), medical insuranc (Part B),

 Medicare Advantage (Part C), and prescription drug benefits (Part D). Medicare Part            covered,

 among other things, durable medical equipment ("DME") that was medically necessary            d ordered

 by licensed medical doctors or other qualified health care providers. DME was equipme t designed

 for repeated use and for a medical purpose, such as prosthetic limbs, back braces,            ee braces,

 wheelchairs, nebulizers, and oxygen concentrators.

         3.     DME companies and other health care providers seeking to participate in Medicare

 Part B and to bill Medicare for the cost of DME and related benefits, items, and se Ices were

 required to apply for and receive a "provider number" (or "supplier number").                 In these

 applications, DME companies were required to provide truthful and accurate information, including

 accurately listing the names of all people who have an ownership or security interest in th provider

 company.

         4.     The provider number allowed a DME company to submit bills, known as "claims,"

 to Medicare to obtain reimbursement for the cost of DME and related health care bene ts, items,

 and services that a DME company provided to beneficiaries.
                                                                                                            I
         5.     To receive payment from Medicare, a DME company, using its provide number,
                                                                         .                 !



 submitted a health insurance claim form, known as a CMS-1500.           Medicare permitted DME

  companies to submit a CMS-1500 electronically. The CMS-1500 required DME co

 provide certain important information, including: (a) the Medicare beneficiary's

  identification number; (b) the identification number of the doctor or other qualified h alth care

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 provider who ordered the health care benefit, item, or service that was the subject ofthe claim; (c)

 the health care benefit, item, or service that was provided or supplied to the beneficia y; (d) the

 billing codes for the benefit, item, or service; and (e) the date upon which the benefi , item, or

 service was provided to or supplied to the beneficiary.

        6.      When a claim was submitted to Medicare, the provider certified that the c ntents of

 the form were true, correct, complete, and that the form was prepared in compliance wit the laws

 and regulations governing the Medicare program. The provider further certified that th services

 and health care items being billed were medically necessary and were in fact provided as billed.

        7.      Medicare generally paid a substantial portion of the cost of the DME r related

 health care benefits, items, and services that were medically necessary and ordered b licensed

 doctors or other licensed, qualified health care providers. Payments under Medicare P rt B were

 often made directly to the DME company rather than to the beneficiary.

        8.      The Florida Medicaid Program ("Medicaid") provided health care benefits,

 including DME, to certain low-income individuals and families in Florida.            Med" caid was

 administered by CMS and the Agency for Health Care Administration ("ACHA").

        9.      Medicare and Medicaid were "health care benefit program[s]," as define by Title

 18, United States Code, Section 24(b ).

                                  Commercial Health Insurance

        10.     Commercial health insurance, also known as private health insurance, ,provided
                                                                                           I

 compensation for medical bills that were the result of sickness or injury. Members of a articular




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 insurance plan generally paid a monetary premium for health care benefits specified in an insurance

 agreement.

         11.    Commercial health insurance companies included Cigna, UnitedHealth             roup, and

 Blue Cross BlueShield ("BCBS").        Cigna, UnitedHealth Group, and BCBS were "h alth care

 benefit program[ s]" as defined by Title 18, United States Code, Section 24(b).

        12.     Cigna, UnitedHealth Group, and BCBS often made payments directly to ealth care

 providers, rather than to the beneficiary who received the health care benefit, item or se vice. To

 obtain payment for treatment or health care items provided to a beneficiary, health care providers

 had to submit itemized claim forms to the beneficiary's commercial insurance plan.                 he claim

 forms were typically submitted electronically.         The claim form generally required htalth care

 providers to provide certain important information, including (a) the beneficiary's name a d unique

 identifier; (b) the name and unique identifier of the referring physician or other health care provider;

 (c) a description of the health care benefit, item, or service that was provided or suppl ed to the

 member; (d) the billing codes for the benefit, item, or service; and (e) the date upon             hich the

 benefit, item, or service was provided or supplied to the member.

                  The Defendants, Related Companies and a Related Individual                   I




         13.    BF Distributors Corp. ("BF Distributors") was a Florida corporation lpcated in

 Miami-Dade County purporting to be a DME provider.
                                                                                               I


         14.    Timely Medical Services Corp. ("Timely Medical") was a Florida               c~rporation
 located in Miami-Dade County purporting to be a DME provider.
                                                                                               II


                                                                                                               I
         15.    Ortho-Med Solution, Inc. ("Ortho-Med") was a Florida corporation 1 cated m

  Miami-Dade County purporting to be a DME provider.

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          16.    Expedited Medical Supplies Corp. ("Expedited Medical") was a Florida c rporation

  located in Miami-Dade County purporting to be a DME provider.

          17.    Prime Orthopedic Solutions Corp. ("Prime Orthopedic") was a Florida c rporation

 located in Miami-Dade County purporting to be a DME provider.

          18.    Co-Conspirator 1 was a resident of Miami-Dade County.

          19.    Defendant JESUS GARCES, a/k/a "Narra," a resident of Miami-Dad County,

  was a beneficial owner of BF Distributors, Timely Medical, Ortho-Med, Expedited Me ical, and

  Prime Orthopedic.

         20.     Defendant ORLANDO CAMPA was a resident ofMiami-Dade County.

         21.     Defendant VINCENTE GONZALEZ was a resident of Miami-Dade Co nty.

                                            COUNT1
                      Conspiracy to Commit Health Care Fraud and Wire Fraud
                                        (18 u.s.c. § 1349)

          1.     Paragraphs 1 through 19 of the General Allegations section of this lndi tment are

  re-alleged and incorporated by reference as though fully set forth herein.

         2.      From in or around January 2017 through in or around November 2019, ·n Miami-

  Dade County, in the Southern District of Florida, and elsewhere, the defendant,

                                   JESUS GARCES, a/k/a "Narra,"

  did willfully, that is, with the intent to further the objects of the conspiracy, and knowingly! combine,

  conspire, confederate, and agree with Co-Conspirator 1 and others, known and unknok to the

  Grand Jury, to commit offenses against the United States, that is:

                 a.       to execute a scheme and artifice to defraud a health care benefi program

  affecting commerce, as defined in Title 18, United States Code, Section 24(b ), that is,        edicare,

                                                     5
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 Medicaid, Cigna, UnitedHealth Group, and BCBS, and to obtain, by means of materiall false and

 fraudulent pretenses, representations, and promises, money and property owned by, and under the

 custody and control of, said health care benefit programs, in connection with the deliv ry of and

 payment for health care benefits, items, and services, in violation of Title 18, United Stites Code,

 1347; and



                                                                                                              I
                 b.     to devise and intend to devise a scheme and artifice to defrau , and for

 obtaining money and property by means of materially false and fraudulent                         retenses,

 representations, and promises, knowing that the pretenses, representations, and promises         ere false

 and fraudulent when made, and for the purpose of executing the scheme and artifice, did          owingly

 transmit and cause to be transmitted, by means of wire communication in interstate c

 certain writings, signs, signals, pictures, and sounds, in violation of Title 18, United St tes Code,

 Section 1343.

                                     Purpose of the Conspiracy

        3.       It was a purpose of the conspiracy for JESUS GARCES and his co-cons irators to

 unlawfully enrich themselves by, among other things: (a) submitting and causing the sub ission of

 false and fraudulent claims to Medicare, Medicaid, Cigna, UnitedHealth Group, and          sqss     using

 interstate wire communication; (b) concealing the submission of false and fraudulent         ~laims to
 Medicare, Medicaid, Cigna, UnitedHealth Group, and BCBS; and (c) diverting fraud prqceeds for
                                                                                              I

 their personal use and benefit, the use and benefit of others, and to further the fraud.

                               Manner and Means of the Conspiracy

        The manner and means by which JESUS GARCES and his co-conspirators

 accomplish the objects and purpose of the conspiracy included, among other things, the           llowing:

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         4.      JESUS GARCES and his co-conspirators acquired, and caused the acq isition of,

 beneficial ownership interests in several DME companies, including BF Distributor , Timely

 Medical, Ortho-Med, Expedited Medical, and Prime Orthopedic.

         5.      JESUS GARCES and his co-conspirators recruited and paid individuals

 nominee owners of several DME companies, including BF Distributors, Timely Medic 1, Ortho-

 Med, Expedited Medical, and Prime Orthopedic, in order to conceal the identities f JESUS

 GARCES and his co-conspirators as the beneficial owners of the DME companies.

         6.      JESUS GARCES and his co-conspirators obtained the names and ide

 numbers of Medicare, Medicaid, Cigna, UnitedHealth Group, and BCBS beneficiarie , and the

 names and provider numbers of physicians, in order to submit false and fraudulent clai s to these

 health care programs for DME that was not prescribed by a licensed physician, was not        edically

 necessary, and was never provided to the beneficiaries.

         7.      JESUS GARCES and his co-conspirators submitted, and caused the sub ission of,

 false and fraudulent claims totaling more than $48 million to Medicare, Medicai , Cigna,

 UnitedHealth Group, and BCBS through the use of interstate wire communication, on be alf of the

 DME companies, including BF Distributors, Timely Medical, Ortho-Med, Expedited Mefical, and

 Prime Orthopedic, for DME that was never provided and not eligible for reimbursement.    I



                                                                                          !

         All in violation of Title 18, United States Code, Section 1349.

                                           COUNTS 2-11
                                         Health Care Fraud
                                         (18 u.s.c. § 1347)

         1.      Paragraphs 1 through 19 of the General Allegations section of this Indict ent are

  re-alleged and incorporated by reference as though fully set forth herein.

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         2.      From in or around January 2017 through in or around November 2019, n Miami-

  Dade County, in the Southern District of Florida, and elsewhere, the defendant,

                                   JESUS GARCES, a/k/a "Narra,"

  in connection with the delivery of and payment for health care benefits, items, and se vices, did

 knowingly and willfully execute, and attempt to execute, a scheme and artifice to defra d a health

  care benefit program affecting commerce, as defined in Title 18, United States Code, Sec~ion 24(b),
                                                                                           I

 that is, Medicare, Medicaid, Cigna, UnitedHealth Group, and BCBS, and to obtain, by means of
                                                                                           I




 materially false and fraudulent pretenses, representations, and promises, money and propery owned

 by, and under the custody and control of, said health care benefit programs.

                               The Purpose of the Scheme and Artifice

         3.      It was the purpose of the scheme and artifice for the defendant and his ac omplices

 to unlawfully enrich themselves by, among other things: (a) submitting and causing the s bmission

  of false and fraudulent claims to Medicare, Medicaid, Cigna, UnitedHealth Group, and          CBS; (b)

  concealing the submission of false and fraudulent claims to Medicare, Medicai , Cigna,

 UnitedHealth Group, and BCBS; and (c) diverting fraud proceeds for their personal use a d benefit,

  the use and benefit of others, and to further the fraud.

                                       The Scheme and Artifice
                                                                                           I!




         4.      Paragraphs 4 through 7 of the Manner and Means Section of Count 1 are re-alleged
                                                                                           I

  and incorporated herein as a description of the scheme and artifice.                     '

              Acts in Execution or Attempted Execution of the Scheme and Artifice

         5.      On or about the dates specified as to each count below, in Miami-Dade 1ounty, in

  the Southern District of Florida, and elsewhere, the defendant,

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                                                                                                           I
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                                JESUS GARCES, a/k/a "Narra,"

  in connection with the delivery of and payment for health care benefits, items, and

 knowingly and willfully execute, and attempt to execute, the above-described scheme

 to defraud a health care benefit program affecting commerce, that is, Medicare, Medi

 UnitedHealth Group, and BCBS, and to obtain, by means of materially false and

 pretenses, representations, and promises, money and property owned by, and under the

 control of, said health care benefit programs, in that the defendant submitted and         "'~u""'u


 submission of false and fraudulent claims seeking reimbursement for the cost of DME

 prescribed by a physician, not medically necessary, and not provided to beneficiaries as   .,,u.JLUH.,u




      2
                                                              Back brace
                                                            330812195001
      3        7/25/17          J.S.      UnitedHealth
                                                              Back brace
                                                           118099796689000
      4        4119/18         W.F.         Medicare                                    $2, 80
                                                              Back brace
                                                           118176789093000
      5        6/25/18         T.B.         Medicare
                                                              Back brace
                                                           118199801835000
      6        7/18/18         S.C.         Medicare
                                                              Back brace
                                                             18283E1 0709
      7      10/10/2018        R.G.         Medicaid        Knee ankle foot
                                                               orthosis
                                                           119149820686000
      8        5/29119         G.A.         Medicare       Addition to lower


      9        5/30/19         N.F.         Medicare




                                                 9


                                                                                                           t

                                                                                                           I
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                                                                 119246850357000
      10         9/3/2019          A.F.          Medicare         Knee ankle foot
                                                                     orthosis
                                                                  1192537715130
      11        9/10/2019          N.B.          Medicare         Knee ankle foot
                                                                     orthosis

           In violation of Title 18, United States Code, Sections 134 7 and 2.

                                              COUNT 12
                               Conspiracy to Commit Money Laundering
                                         (18 u.s.c. § 1956(h))

           Beginning in or around June 2017, and continuing through in or around Novembtr 2019,

  in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendan s,

                                    JESUS GARCES, a/k/a "Narra,"
                                       ORLANDO CAMPA, and
                                      VINCENTE GONZALEZ,

  did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

  conspire, confederate, and agree with each other, with Co-Conspirator 1, and others,               own and

  unknown to the Grand Jury, to knowingly conduct a financial transaction affecting interstate

  commerce, which financial transaction involved the proceeds of specified unlawfu activity,

  knowing that the property involved in the financial transaction represented the proceed of some

  form of unlawful activity, and knowing that such transaction was designed, in whole or n part, to
                                                                                                 '

  conceal and disguise the nature, location, source, ownership, and control of the prrceeds of

  specified unlawful activity, in violation ofTitle 18, United States Code, Section 1956(a)~1)(B)(i).

           It is further alleged that the specified unlawful activity is health care fraud, in viotation of

  Title 18, United States Code, Section 134 7; wire fraud, in violation of Title 18, United St tes Code,

  Section 1343; and conspiracy to commit health care fraud, in violation of Title 18, Uni ed States



                                                     10
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  Code, Section 1349.

           All in violation of Title 18, United States Code, Section 1956(h).

                                           COUNTS 13-20
                                          Money Laundering
                                      (18 U.S.C. 1956(a)(1)(B)(i))

           On or about the dates set forth as to each count below, in Miami-Dade                   , in the

   Southern District of Florida, and elsewhere, the defendants, as specified below, did

   conduct and attempt to conduct a financial transaction affecting interstate        cmnrrten~e


   financial transaction involved the proceeds of specified unlawful activity,                    that the

   property involved in the financial transaction represented the proceeds of some form

   activity, and knowing that the transaction was designed, in whole and in part, to

   disguise the nature, location, source, ownership, and control of the proceeds of

   activity, as set forth below:



                                                           Negotiation of check no. 1054,
                                                                                                              I
                                                                                                              r
                                                           BF Distributors' bank account
      13          6/14/17           JESUS GARCES
                                                           5864, in the approximate amount
                                                           $2 880
                                                           Negotiation of check no. 1249,
                                                           BF Distributors' bank account
      14           9/1117           JESUS GARCES
                                                           5856, in the approximate amount of
                                                           $5,900
                                                           Negotiation of check no. 1025,
                                    JESUS GARCES           Timely Medical's bank account
      15           8/4118
                                   ORLANDO CAMPA           4668, in the approximate amount of I

                                                           $3 100
                                                           Negotiation of check no. 1016,
                                    JESUS GARCES           Timely Medical's bank account
      16          8/22118
                                   ORLANDO CAMPA           4668, in the approximate amount of
                                                               990

                                     VINCENTE
      17
                  11/12/18           GONZALEZ


                                                   11
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                                                              Transfer of approximately $39,8         7 from
      18            10110119        JESUS GARCES              Prime Orthopedic's bank accoun          ending
                                                              in 1643
                                                              Transfer of approximately $34,8         0 from
      19            10/22/19        JESUS GARCES              Prime Orthopedic's bank accoun          ending


      20            10/29/19        JESUS GARCES
                                                              in 1643
                                                              Transfer of approximately $26,8
                                                              cash to JESUS GARCES
                                                                                                      0 in          I
           It is further alleged that the specified unlawful activity is health care fraud, in viofation of
                                                                                                 I


  Title 18, United States Code, Section 1347; wire fraud, in violation of Title 18, United     St~tes Code,
  Section 1343; and conspiracy to commit health care fraud, in violation of Title 18, Unifed States
                •                                                                                I
  Code, SectiOn 1349.                                                                            I

                                                                                                 I


           In violation of Title 18, United States Code, Sections 1956(a)(l )(B)(i) and 2.

                                               FORFEITURE
                                              (18 u.s.c. § 982)                                   I




           1.       The allegations in this Indictment are re-alleged and incorporated by      re~erence       as

  though fully set forth herein for the purpose of alleging forfeiture to the United States ~f certain
                                                                                                  I


  property in which the defendants, JESUS GARCES, ORLANDO CAMP A and VlrCENTE

  GONZALEZ, have an interest.                                                                     ,
                                                                                                  I

           2.       Upon conviction of a violation of Title 18, United States Code, Sectio,134 7, or

  Title 18, United States Code, Section 1349, as alleged in this Indictment, defendat JESUS
                                                                                                  I
  GARCES shall forfeit to the United States any property, real or personal, that constitrtes or is
                                                                                                  !



  derived, directly or indirectly, from gross proceeds traceable to the commission of th~ offense,

  pursuant to Title 18, United States Code, Section 982(a)(7).

           3.       Upon conviction of a violation of Title 18, United States Code, Sectionl1956, as

  alleged in this Indictment, the defendants, JESUS GARCES, ORLANDO                         CA~PA            and



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  VINCENTE GONZALEZ, shall each forfeit to the United States any property, real or personal,

  involved in the offense, or any property traceable to such property, pursuant to Title 18, United

  States Code, Section 982(a)(l).

         4.      The property subject to forfeiture includes, but is not limited to,          ~ sum of
  approximately $14.4 million in United States currency, which represents the total amoun of funds

  involved in the violations of Title 18, United States Code, Section 1956, alleged in this I dictment

  and which may be sought as a forfeiture money judgment.

         5.      If any of the property described above, as a result of any act or omisln of the

  defendant:
                                                                                              I
                 a.      cannot be located upon the exercise of due diligence;                I




                 b.      has been transferred or sold to, or deposited with,   athird
                         party;

                 c.      has been placed beyond the jurisdiction of the court;

                 d.      has been substantially diminished in value; or

                 e.      has been commingled with other property which cannot be
                         divided without difficulty,

  the United States of America shall be entitled to forfeiture of substitute property under




                                                   13
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  the provisions of Title 21, United States Code, Section 853(p).

         All pursuant to Title 18, United States Code, Section 982(a)(l) and 982( a)(7)1 Title 31,

  United States Code, Section 5317(c), and the procedures set forth in Title 21, United Stttes Code,

  Section 853.
                                                                                          1




                                                       A TRUE BILL
                                                                                   /


                                                                               v
                                                       FOREPERSON - /




  ARIANA FAJARDO ORSHAN '
  UNITED STATES ATTORNEY
  SOUTHERN DISTRICT OF FLORIDA


  ROBERT ZINK
  CHIEF
  FRAUD SECTION, CRIMINAL DIVISION
  U.S. DEPARTMENT OF JUSTICE

  ALLAN MEDINA
  DEPUTY CHIEF
  CRIMINAL DIVISION, FRAUD SECTION
  U.S. DEPARTMENT OF JUSTICE



  ALEXANDER THOR POGOZELSKI
  TRIAL ATTORNEY
  CRIMINAL DIVISION, FRAUD SECTION
  U.S. DEPARTMENT OF JUS   E



  A   EMCNAMARA
  ASSISTANT UNITED STATE ATTORNEY
  SOUTHERN DISTRICT OF FLORIDA


                                                  14
                                                          UNITED STATES DISTRICT COURT
       Case 1:19-cr-20812-AHS Document 3 DISTRICT
                                SOUTHERN Entered on
                                                  OFFLSD  Docket 12/11/2019 Page 15 of 18
                                                     FLORIDA

UNITED STATES OF AMERICA                                                   CASE NO . ________________________~------
  v.
JESUS GARCES, a/k/a "Narra,"                                               CERTIFICATE OF TRIAL ATTORNEY*
ORLANDO CAMPA, and
VINCENTE GONZALEZ,                                        II               Superseding Case Information:
                                      Defendants.

Court Division:   (Select One)                                             New defendant(s)               Yes   No
 -1      Miami                   Key West                                  Number of new defendants
         FTL                     WPB                FTP                    Total number of counts

         1.        I have carefully considered the allegations of the indictment, the number of defendant , the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached he eto.
         2.        I am aware that the information supplied on this statement will be relied upon by th Judges of this
                   Court in setting their calendars and scheduling criminal trials under the mandate oft e Speedy Trial
                   Act, Title 28 U.S.C. Section 3161.
         3.        Interpreter:    (Yes or No)                  Yes
                   List language and/or dialect                _,S""o""'a""'m!.-s:"·:c:ch_ _ _ _ __
         4.        This case will take _7_ days for the parties to try.
         5.        Please check appropriate category and type of offense listed below:

                   (Check only one)                                                    (Check only one)


         I         0 to 5 days                                                          Petty
         II        6 to 10 days                                                         Minor
         III       II to 20 days                                                        Misdem.
         IV        21 to 60 days                                                        Felony
         v         61 days and over
         6.        Has this case previously been filed in this District Court?        (Yes or No) No
           If yes: Judge                                     Case No.
          (Attach copy of dispositive order)
                                                                        -------------------+-
          Has a complaint been filed in this matter?          (Yes or No)      _N_o___
           If yes: Magistrate Case No.
          Related miscellaneous numbers:
           Defendant(s) in federal custody as of
          Defendant(s) in state custody as of
          Rule 20 from the District of
          Is this a potential death penalty case? (Yes or No)

          7.        Does this case originate from a matter pending in the Central Region of the U.S. Atto ey's Office
                    prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No-t--
                                                                                                                     1

                                                                                                                     :

          8.        Does this case originate from a matter pending in the Northern Region U.S. Attorney'~ Office
                    prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes             No-t-




                                                                                         ALEXANDER THOR POGOZELSK]
                                                                                         DOJ TRIAL ATTORNEY
                                                                                         COURT ID NO. A5502549
  *Penalty Sheet(s) attached                                                                                             REV 8/13/2018
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


                                       PENALTY SHEET

 Defendant's Name:                  JESUS GARCES, a/k/a "Narra"

 CaseNo:   --------------------------------------------------------+-----
 Count#:    1

    Conspiracy to Commit Health Care Fraud and Wire Fraud

    Title 18, United States Code, Section 1349

 *Max Penalty:      Twenty (20) years' imprisonment

 Counts #: 2 - 11

    Health Care Fraud

    Title 18, United States Code, Section 134 7



 Count#:    12

    Conspiracy to Commit Money Laundering

    Title 18, United States Code, Section 1956(h)                                                l
                                                                                                 t
  *Max Penalty:     Twenty (20) years' imprisonment

 Counts#: 13- 16, 18-20

     Money Laundering

     Title 18, United States Code, Section 1956(a)( l)(B)(i)

 *Max Penal :

 *Refers only to possible term of incarceration, does not include possible fines, restit tion,
 special assessments, parole terms, or forfeitures that may be applicable.
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


                                      PENALTY SHEET

 Defendant's Name:                    ORLANDO CAMPA

           ------------------------------------------------------+-----
 CaseNo:
 Count#:    12
                                                                                                 ;
                                                                                                 f
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    Conspiracy to Commit Money Laundering

    Title 18, United States Code, Section 1956(h)

 *Max Penalty:     Twenty (20) years' imprisonment

 Counts#: 15- 16

    Money Laundering

    Title 18, United States Code, Section 1956(a)(l )(B)(i)

 *Max Penalt :

 *Refers only to possible term of incarceration, does not include possible fines, restit tion,
 special assessments, parole terms, or forfeitures that may be applicable.
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


                                      PENALTY SHEET

 Defendant's Name:                  VINCENTE GONZALEZ

 Case No: ------------------------------------------------------+-----

 Count#:    12

    Conspiracy to Commit Money Laundering

    Title 18, United States Code, Section 1956(h)

 *Max Penalty:     Twenty (20) years' imprisonment

 Counts#: 17

    Money Laundering

    Title 18 United States Code

 *Max Penalty:     Twenty (20) years' imprisonment                                      I




 *Refers only to possible term of incarceration, does not include possible fines, restitition,
 special assessments, parole terms, or forfeitures that may be applicable.




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